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                  UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA              :   NO. 3:20-CR-228

                                          (JUDGE MARIANI)

KURT MORAN,                               (electronically filed)
            Defendant.

                           PLEAAGREEMEN]IT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Yiolation(s), Penalties. and Dismis sal of Other Counts

    1.   Guilty plea. The defendant agrees to plead guilty to Count 55 of

         the Indictment, which charges the defendant with a violation of

         Title 21, United States Code, g S+1(a)(1), unlawful distribution

         ofcontrolled substances (Subsys) outside the usual course of

         professional practice and with not for a legitimate medical

         purpose. The maximum penalty for that offense is

         imprisonment for a period of 20 years, a fine of 91,000,000,   a
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 maximum term of supervised release of up to life but at least 3

 years, to be determined by the court, which shall be served at

 the conclusion of and in addition to any term of imprisonment,

 the costs ofprosecution, denial ofcertain federal benefits, and

 an assessment in the amount of $100. The defendant also

 agrees to plead guilty to Count 330 of the Indictment, which

 charges the defendant with violation of Title 21, United States

 Code, $ 856, maintaining drug-involved premises. The

 maximum penalty for that offense is imprisonment for a period

 of 20 years, a fine of $500,000, a maximum term of supervised

 release of up to life but at least 3 years, to be determined by the

 court, which shall be served at the conclusion of and in addition

 to any term of imprisonment, the costs of prosecution, denial of

 certain federal benefits. and an assessment in the amount of

 $100. The defendant also agrees to plead guilty to Count 405,

 which charges a violation of 18 U.S.C.   S 1347,   health care fraud.

 The maximum penalty for that offense is imprisonment for a

 period of 10 years, a fine of 9250,000, a maximum term of
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 supervised release of 3 years, to be determined by the court,

 which shall be served at the conclusion of and in addition to any

 term of imprisonment, the costs of prosecution, denial of certain

 federal benefits, and an assessment in the amount of $100. At

 the time the guilty pleas are entered, the defendant shall admit

 to the Court that the defendant is, in fact, guilty ofthe above

 offenses. After sentencing, the United States will move for

 dismissal of any remaining counts of the Indictment. The

 defendant agrees, however, that the United States may, at its

 sole election, reinstate any dismissed charges, or seek additional

 charges, in the event that any guilty plea entered or sentence

 imposed pursuant to this Agreement is subsequently vacated,

 set aside, or invalidated by any court. The defendant further

 agrees to waive any defenses to reinstatement of any charges, or

 to the filing of additional charges, based upon laches, the

 assertion ofspeedy trial rights, any applicable statute of

 limitations, or any other ground. The calculation of time under

 the Speedy Trial Act for when trial must commence is tolled as
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     of the date of the defendant's signing of this Agreement,    until
     either (a) ttre defendant pleads guilty; or (b) a new date is set by

     the Court for commencement of trial.

2.   Term ofSupeiwised Release. The defendant understands that

     the court must impose at least a S-year term of supervised

     release but up to life in addition to any term of imprisonment,

     fine or assessment involving a violation of the Controlled

     Substances   Act. The defendant also understands that the court

     must impose a term of supervised release following any

     sentence of imprisonment exceeding one year, or when required

     by statute. The court may require a term of supervised release

     in any other case. In addition, the defendant understands that

     as a condition of any term of supervised release or probation,

     the court must order that the defendant cooperate in the

     collection of a DNA sample if the collection of a sample is so

     authorized by law.

3.   Maximum Sentence     - Multiple Counts.   The defendant

     understands that the total, maximum possible sentence for all
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          charges is the combination ofpenalties described abovei that is,

          50 years in prison and/or fines totaling $1,750,000, a lifetime of

          supervised release but at least 3 years, the costs ofprosecution,

          denial ofcertain federal benefits and an assessment totaling

          $300.

     4. \o   Further Prosecution, Except Tax Charqes. The United

          States Attorney's Office for the Middle District of Pennsylvania

          agrees that   it will not bring any other criminal charges against

          the defendant directly arising out ofthe defendant's

          involvement in the offense(s) described above. However.

          nothing in this Agreement will limit prosecution for criminal tax

          charges,   if any, arising out of those offenses.

B.   Fines and Assessments

     5.   Fine. The defendant understands that the court may impose a

          fine pursuant to the Sentencing Reform Act of 1984. The willful

          failure to pay any fine imposed by the court, in full, may be

          considered a breach ofthis PIea Agreement. Further, the

          defendant acknowledges that willful failure to pay the fine may
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     subject the defendant to additional criminal violations and civil

     penalties pursuant to Title 18, United States Code, $ 3611, et

     seq.

6.   Alternative Fine. The defendant understands that under the

     alternative fine section of Title 18, United States Code, $ 3571,

     the maximum fine quoted above may be increased if the court

     finds that any person derived pecuniary gain or suffered

     pecuniary loss from the offense and that the maximum fine to

     be imposed,   if the court elects to proceed in this fashion, could

     be twice the amount of the gross gain or twice the amount of the

     gross loss resulting from the offense.

7.   Inmate Financial Responsibilit y Program. If the court orders a

     fine or restitution as part ofthe defendant's sentence, and the

     sentence includes a term of imprisonment, the defendant agrees

     to voluntarily enter the United States Bureau of Prisons-

     administered program known as the Inmate Financial

     Responsibility Program, through which the Bureau of Prisons

     will collect up to 50% of the defendant's prison salary, and up to
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     50% of the balance of the defendant's inmate account, and apply

     that amount on the defendant's behalf to the payment of the

     outstanding fine and restitution orders.

8.   Special Assessment. The defendant understands that the court

     wiII impose a special assessment of 9300 (9100 per count),

     pursuant to the provisions of Title 18, United States Code, $

     3013. No later than the date ofsentencing, the defendant or

     defendant's counsel shall mail a check in payment of the special

     assessment directly to the Clerk, United States District Court,

     Middle District of Pennsvlvania. If the defendant intentionallv

     fails to make this payment, that failure may be treated as     a

     breach of this Plea Agreement and may result in further

     prosecution, the filing of additional criminal charges, or a

     contempt citation.

9.   Collection of Financial Oblisations. In order to facilitate the

     collection of financial obligations imposed in connection with

     this case, the defendant consents and agrees:


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  a   to fully disclose all assets in which the defendant has an

      interest or over which the defendant has control, directly or

      indirectly, including those held by a spouse, nominee, or

      other third partyi

 b.   to submit to interviews by the Government regarding the

      defendant's financial statusi

 C    to submit a complete, accurate, and truthful financial

      statement, on the form provided by the Government, to the

      United States Attorney's Office no later than 14 days

      following entry of the guilty pleai

 d.   whether represented by counsel or not, to consent to contact

      by and communication with the Government, and to waive

      any prohibition against communication with a represented

      party by the Government regarding the defendant's

      financial status;

 c    to authorize the Government to obtain the defendant's

      credit reports in order to evaluate the defendant's ability to

      satisfy any financial obligations imposed by the courti and
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        f.   to submit any financial information requested by the

             Probation Office as directed, and to the sharing offinancial

             information between the Government and the Probation

             Office.

C.   Sentencine Guidelines Calculation

     10. Determjnation ofSentencins Guidelines. The defendant and

        counsel for both parties agree that the United States Sentencing

        Commission Guidelines, which took effect on November 1, 1987,

        and its amendments, as interpreted by United States v. Booker,

        543 U.S. 22O (2005),   will apply to the offense or offenses to

        which the defendant is pleading guilty. The defendant further

        agrees that any legal and factual issues relating to the

        application ofthe Federal Sentencing Guidelines to the

        defendant's conduct, including facts to support any specific

        offense characteristic or other enhancement or adjustment and

        the appropriate sentence within the statutory maximums

        provided for by law, will be determined bv the court after

        briefing, a pre-sentence hearing, and-/or a sentencing hearing.
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1   1. Acceptance of Responsibilit y- Three Levels.       Ifthe defendant
         can adequately demonstrate recognition and affirmative

         acceptance ofresponsibility to the Government as required by

         the Sentencing Guidelines, the Government will recommend

         that the defendant receive a three-level reduction in the

         defendant's offense level for acceptance ofresponsibility. The

         third level, ifapplicable, shall be within the discretion ofthe

         Government under U.S.S.G.     S   3E1.1. The failure of the court to

         find that the defendant is entitled to a two [three]-level

         reduction shall not be a basis to void this Plea Agreement

12. Specific Sentencing Guidelines Recommendations. With respect

         to the application of the Sentencing Guidelines to the

         defendant's conduct, the defendant stipulates and agrees as

         follows:

    a.      In addition to the counts ofconviction, pursuant to
            U.S.S.G. $ 181.2 and 181.3 (relevant conduct), the
            defendant and the United States stipulate that the
            defendant committed the additional offense of
            knowingly and intentionally distributing oxycodone
            and fentanyl, Schedule II controlled substances,
            outside the usual course ofprofessional practice and
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       not for legitimate medical purposes, and that the death
       of "J.8." as charged in Count 328 of the Indictment
       resulted from the use ofthe substancesi

b      Based on the foregoing stipulation, the base offense
       level under U.S.S.G. S 2D1.1(de) is gA;

c       For purposes of the U.S.S.G., the parties agree to
       jointly recommend to the Court that the defendant be
       sentenced to a term ofl44 months'incarcerationi a 3'
       year term ofsupervised release i a fine, ifany, to be
       determined by the courti restitution as determined by
       the courti special assessments totaling $300i and a
       forfeiture order in the amount of $134,000.

    The defendant understands that none ofthese recommendations

    is binding upon either the court or the United States Probation

    Office, which may make different findings as to the application

    of the Sentencing Guidelines to the defendant's conduct. The

    defendant further understands that the United States   will

    provide the court and the United States Probation Office all

    information in its possession that it deems relevant to the

    application of the Sentencing Guidelines to the defendant's

    conduct.




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Sentencine Recommendation

   13. Special Conditions of Probation/Su pervised Release.   If
      probation or a term of supervised release is ordered, the United

      States may recommend that the court impose one or more

      special conditions, including but not limited to the following:

      a    The defendant be prohibited from possessing a firearm or

           other dangerous weapon.

      b.   The defendant make restitution, if applicable, the payment

           of which shall be in accordance with a schedule to be

           determined by the court.

      c    The defendant pay any fine imposed in accordance with a

           schedule to be determined bv the court.

      d.   The defendant be prohibited from incurring new credit

           charges or opening additional Iines of credit without

           approval ofthe Probation Office unless the defendant is in

           compliance with the payment schedule.




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  e    The defendant be directed to provide the Probation Office

       and the United States Attorney access to any requested

       financial information.

  f.   The defendant be confined in a community treatment

       center, halfway house, or similar facility.

  g.   The defendant be placed under home confinement.

  h.   The defendant be ordered to perform community service.

  1    The defendant be restricted from working in certain types of

       occupations or with certain individuals, if the Government

       deems such restrictions to be appropriate.

  j.   The defendant be directed to attend substance abuse

       counseling, which may include testing to determine whether

       the defendant is using drugs or alcohol.

  k.   The defendant be directed to attend psychiatric or

       psychological counseling and treatment in a program

       approved by the Probation Officer.

  l.   The defendant be denied certain federal benefits including

       contracts, grants, Ioans, fellowships and licenses.
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         m   The defendant be directed to pay any state or federal taxes

             and file any and all state and federal tax returns as

             required by law.

D.   Forfeiture of Assets

     14. Forfeiture. The present indictment seeks forfeiture of the

        defendant's interests in certain assets. In the event the United

        States seeks to forfeit those assets through a civil proceeding,

        the defendant understands that dismissal of the criminal

        forfeiture allegation in no way limits the United States from

        proceeding civilly against any assets owned or held by the

        defendant or any other party. Defendant agrees to settle any

        civil and criminal forfeiture matters arising out of the offense of

        conviction and its relevant conduct. The defendant agrees that

        the defendant's property constitutes proceeds of, is derived from

        proceeds traceable to, or was used in any manner or part to

        commit or facilitate the commission of the offense of conviction

        and its relevant conduct. Defendant further agrees to the

        following:
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  a    Forfeiture of $134,000 in United States currency as

       proceeds of the 18 U.S.C. $ 1347 violation, which the

       defendant admits he personally obtained and benefited

       fromi

  b.   Immediate entry of the preliminary order of forfeiture

       and./or the   filing of a civil complaint by the United States,

       pursuant to Title 18, United States Code, $ 981;

  C    Waiver of the right to personal service of all process and

       naming ofAttorney Robert Levant, 538 Spruce Street, Suite

       414, Scranton,    PA   18503, as agent for service of all processi

  d.   Waiver of the right to appear and contest any portion of the

       forfeiture proceedings, including but not limited to, any

       motion or proceeding for substitute assetsi

  e    The filing and entry of a consent decree of forfeiturei

  f.   Disclosure, no later than upon signing this Agreement, of aII

       persons and entities holding an equitable or legal interest in

       the property, real or personal, subject to forfeiture pursuant

       to this Agreementi
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  g.   Concurrence in any motion necessary to be filed and signing

       any documents necessary to effectuate forfeiturei

  h.   Payment ofcosts associated with the seizure, storage, and

       maintenance ofthe any asset being returned to the

       defendant, as a result of this Agreementi

  I    In the event any assets are being returned to the defendant,

       such return does not amount to having "substantially

       prevailed" in the pursuit of any claim, and to make no claim

       against the United States or any of its agencies or

       employees, including claims for attorney's fees and costs of

       litigationi

  j.   Waiver of any double jeopardy challenges the defendant

       may have to any administrative or civil forfeiture actions,

       pending or completed, arising out of the course of conduct

       forming the basis for the forfeitures.

  k.   Waiver of all constitutional, legal, and equitable claims

       arising out of and./or defenses to the forfeiture of this

       property in any proceeding, including any claim oflnnocent
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        Ownership and any claim or defense under the Eighth

        Amendment, including any claim of excessive fine.

15. Disclosure of Assets. This Agreement is being entered by the

    United States on the basis ofthe express representation that

    the defendant is making full and complete disclosure of all

    assets over which the defendant exercises control. The

    defendant agrees to submit to a polygraph examination by an

    examiner selected by the Government to verify the defendant's

   complete and candid compliance with this provision of the Plea

   Agreement. The defendant also understands that a failure to

   make a full disclosure or lack ofcandor revealed by a polygraph

   examination would constitute a breach of this Plea Agreement,

   subjecting the defendant to the sanctions set forth in this Plea

   Agreement. Conditioned upon such full disclosure, the United

   States agrees not to seek the seizure/forfeiture of any of the

   defendant's assets other than those set forth in this Agreement.

16. No Further Forfeiture. As the result of the forfeitures set forth

   above, the United States agrees not to seek forfeiture of any
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      other asset known to the United States by defendant's

      disclosure to belong to the defendant or the defendant's family.

      This Agreement does not prevent the Internal Revenue Service

      from the collection of taxes or the seizure of assets to satisfv

      those taxes.

17. Forfeiture of Interests/Passase of Clear Title/Destruction Order.

      By this Agreement, the defendant agrees to forfeit all interests

      in the assets set forth above and to take whatever steps are

      necessary to pass clear title ofthose assets to the United States.

      These steps include but are not limited to surrender of title;

      signing ofa consent decreei stipulating to facts regarding the

      transfer and basis for the forfeituresi and concurrence in anv

      motion and signing any document necessary to effectuate such

      transfers.

1   8. Destruction OrderAilaivers. The defendant further agrees,

      should the United States deem    it appropriate,   to the destruction

      of the items seized during the course of the investigation. The

      defendant agrees that the items may be destroyed by the
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  investigative agency with or without a court order authorizing

  the destruction of the items seized. If the United States

  determines that a destruction order should be obtained, the

  defendant and defendant's counsel herebv concur in a motion for

  such an order. The defendant further agrees to waive all

  interest in the assets in any administrative or judicial forfeiture

  proceeding, whether criminal or civil, state or federal. The

  defendant consents and waives all rights to compliance by the

  United States with any appiicable deadlines under 18 U.S.C.     S


  983(a). Any related administrative claim filed by the d.efendant

  is hereby withdrawn. The defendant agrees to consent to the

  entry oforders offorfeiture for such property and waives the

  requirements of Federal Rules of Criminal Procedure 32.2 and

  43(d regarding notice ofthe forfeiture in the charging

  instrument, announcement of the forfeiture at sentencing, and

  incorporation of forfeiture in the judgment.




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E. Victims'Rishts   and Restitution

   19. Victims'Riehts. The defendant understands that pursuant to

      the Victim and Witness Protection Act. the Crime Victims'

      Rights Act, the Justice for AII Act, and the regulations

      promulgated under those Acts by the Attorney General of the

      United States, crime victims have the following rights:

      a    The right to be reasonably protected from the accusedi

      b.   The right to reasonable, accurate, and timely notice of any

           public court proceeding or any parole proceeding involving

           the crime, or of any release or escape ofthe accusedi

      c.   The right not to be excluded from any such public court

           proceeding, unless the court, after receiving clear and

           convincing evidence, determines that testimony by the

           victim would be altered materiallv if the victim heard other

           testimony at that proceedingi

      d.   The right to be reasonably heard at any public hearing in

           the district court involving release, plea, sentencing, or any

           parole proceeding. The defendant understands that the
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       victim's comments and recommendations at anv of these

       proceedings may be different than those ofthe parties to

       this Agreementi

  e    The reasonable right to confer with the attorney for the

       Government in the case. The defendant understands that

       the victim's opinions and recommendations given to the

       attorney for the Government may be different than those

       presented by the United States as a consequence ofthis

       Agreementi

  f.   The right to full and timely restitution as provided for by

       Iaw. The attorney for the Government is required to "fully

       advocate the rights ofvictims on the issue ofrestitution

       unless such advocacy would unduly prolong or complicate

       the sentencing proceeding," and the court is authorized to

       order restitution by the defendant including, but not limited

       to, restitution for property loss, economic loss, personal

       injury, or deathi

  C.   The right to proceedings free from unreasonable delayi and
                               2l
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   h.   The right to be treated with fairness and with respect for

        the victim's dignity and privacy

20. Restitution. The defendant acknowledges that, pursuant to the

   Mandatory Restitution Act of April 24, 1996, Title 1 8, United

   States Code, $ 36634, the court is required in all instances to

   order fuII restitution to all victims for the losses those victims

   have suffered as a result ofthe defendant's conduct. The

   defendant also agrees that the Government will seek and the

   court may impose an order of restitution as to victims of the

   defendant's relevant conduct. With respect to the payment of

   restitution, the defendant further agrees that, as part ofthe

   sentence in this matter, the defendant shall be responsible for

   making payment of restitution in fuII, unless the defendant can

   demonstrate to the satisfaction ofthe court that the defendant's

   economic circumstances do not allow for the payment of      full
   restitution in the foreseeable future. in which case the

   defendant will be required to make partial restitution

   payments. In addition to the schedule of payments that may be
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  established by the court, the Defendant understands and agrees

  that, pursuant to the Mandatory Victims Restitution Act of

  1996 and the Justice For AII Act of 2004, victims of Federal

  Crime are entitled to full and timely restitution. As such, these

  payments do not preclude the government from using other

  assets or income of the Defendant to satisfy the restitution

  obligation. The Defendant understands and agrees that the

  United States Attorney's Office, by and through the Financial

  Litigation Unit, has the obligation and the right to pursue any

  Iegal means, including but not limited to, submission of the debt

  to the Treasury Offset Program, to collect the full amount of

  restitution owed to the victim(s) in a timely fashion. Although

  the defendant may reserve the right to contest the amount of

  restitution owed, the defendant agrees to take all steps to

  facilitate collection of all restitution, including submitting to

  debtor's exams as directed by the Government. Towards this

  goal, the defendant agrees to waive any further notice of

  forfeiture and agrees that the United States may, at its sole
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  election, elect to pursue civil and/or criminal forfeiture in the

  amount of the victim restitution owed in this case. and the court

  may enter both a restitution order and a forfeiture judgment in

  the amount ofany unpaid restitution found by the court to be

  due and owing at the time of sentencing in this matter. The

  defendant consents to the filing of any civil complaint or

  superseding indictment which may be necessary to perfect a

  forfeiture order and further stipulates and agrees that the

  defendant's guilty plea constitutes an admission to all matters

  legally and factually necessary for entry of a forfeiture order in

  this case. The parties agree that any restitution payments

  obtained by the United States or the victim will be applied by

  the United States to reduce both the restitution obligation in

  this case and the amount ofthe outstanding forfeiture order

  entered by the court. The parties further agree that the

  Government will recommend that any assets recovered through

 forfeiture proceedings be remitted to crime victims to reduce the

  defendant's restitution obligation in this case. The defendant
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         acknowledges that the making of any payments does not

         preclude the Government from using other assets or income of

         the defendant to satisfy the restitution obligations. The

         defendant understands that the amount ofrestitution

         calculated for purposes of Chapter 5 of the Sentencing

         Guidelines might be different from the amount of loss calculated

        for purposes of Chapter 2 ofthe Sentencing Guidelines

     21. Full Restitution. The defendant agrees to make full restitution

        in accordance with a schedule to be determined by the court.

        The defendant also agrees that full restitution shall be a

        condition of any probation or term of supervised release that the

        defendant receives.

F.   Information Provided to Court and Probation Office

     22. Backeround Informati on for Probation Office. The defendant

        understands that the United States will provide to the United

        States Probation Office all information in its possession that the

        United States deems relevant regarding the defendant's


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   background, character, cooperation, if any, and involvement in

   this or other offenses.

23. Obiections to P re-Sentence Rep ort. The defendant understands

   that pursuant to the United States District Court for the Middle

   District of Pennsylvania "Policy for Guideline Sentencing" both

   the United States and defendant must communicate to the

   Probation Officer within 14 days after disclosure of the pre-

   sentence report any objections they may have as to material

   information, sentencing classifications, sentencing guideline

   ranges, and policy statements contained in or omitted from the

   report. The defendant agrees to meet with the United States at

   least five days prior to sentencing in a good faith attempt to

   resolve any substantive differences.   If any   issues remain

   unresolved, they shall be communicated to the Probation Officer

   for inclusion in an addendum to the pre-sentence report. The

   defendant agrees that unresolved substantive objections will be

   decided by the court after briefing, or a pre-sentence hearing, or

   at the sentencing hearing where the standard or proofwill be a
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    preponderance ofthe evidence, and the Federal Rules of

    Evidence, other than with respect to privileges, shall not apply

    under Fed. R. Evid. 1101(d)(3), and the court may consider any

    reliable evidence, including hearsay. Objections by the

    defendant to the pre-sentence report or the court's rulings, will

    not be grounds for withdrawal of a plea of guilty.

24. Relevant Sentencinq Information. At the sentencing, the

   United States will be permitted to bring to the court's attention,

   and the court will be permitted to consider, all relevant

   information about the defendant's background, character and

   conduct, including the conduct that is the subject ofthe charges

   that the United States has agreed to dismiss, and the nature

   and extent of the defendant's cooperation, if any. The United

   States wiII be entitled to bring to the court's attention and the

   court will be entitled to consider any failure by the defendant to

   fulfill any obligation under this Agreement.
25. Non'Limitation on Government's Response. Nothing in this

   Agreement shall restrict or limit the nature or content of the
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         United States' motions or responses to any motions filed on

        behalf of the defendant. Nor does this Agreement in any way

        restrict the government in responding to any request by the

        court for briefing, argument or presentation ofevidence

        regarding the application of Sentencing Guidelines to the

        defendant's conduct, including but not limited to, requests for

        information concerning possible sentencing departures.

G.   Breach of PIea Acreement bv Defendant

     26. Breach of Asreement. In the event the United States believes

        the defendant has failed to fulfill any obligations under this

        Agreement, then the United States shall, in its discretion, have

        the option ofpetitioning the court to be relieved ofits

        obligations. Whether the defendant has completely fulfilled all

        of the obligations under this Agreement shall be determined by

        the court in an appropriate proceeding during which any

        disclosures and documents provided by the defendant shall be

        admissible, and during which the United States shall be

        required to establish any breach by a preponderance ofthe
                                    28
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   evidence. In order to establish any breach by the defendant, the

   United States is entitled to relv on statements and evidence

   given by the defendant during the cooperation phase ofthis

   Agreement, if any.

27. Remedies for Breach. The defendant and the United States

   agree that in the event the court concludes that the defendant

   has breached the Agreement:

        The defendant will not be permitted to withdraw any guiltv

        plea tendered under this Agreement and agrees not to

        petition for withdrawal of any guiltv pleai

   b.   The United States will be free to make any

        recommendations to the court regarding sentencing in this

        case,

   C    Any evidence or statements made by the defendant during

        the cooperation phase of this Agreement, if any, will be

        admissible at any trials or sentencingsi

   d.   The United States will be free to bring any other charges   it
        has against the defendant, including any charges originally
                               29
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          brought against the defendant or which may have been

          under investigation at the time of the plea. The defendant

       waives and hereby agrees not to raise any defense to the

          reinstatement ofthese charges based upon collateral

       estoppel, Double Jeopardy, or other similar grounds.

28. Violation of Law While Plea or Sentence Pendin           The

   defendant understands that      it   is a condition ofthis PIea

   Agreement that the defendant refrain from any further

   violations of state, Iocal, or federal law while awaiting plea and

   sentencing under this Agreement. The defendant acknowledges

   and agrees that if the government receives information that the

   defendant has committed new crimes while awaiting plea or

   sentencing in this case, the government may petition the court

   and,   ifthe court finds by a preponderance ofthe      evidence that

   the defendant has committed any other criminal offense while

   awaiting plea or sentencing, the Government shall be free at its

   sole election to   either: (a) withdraw from this Agreementi or (b)

   make any sentencing recommendations to the court that             it
                                 30
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         deems appropriate. The defendant further understands and

         agrees that. if the court finds that the defendant has committed

         any other offense while awaiting plea or sentencing, the

         defendant will not be permitted to withdraw any guilty pleas

        tendered pursuant to this PIea Agreement, and the government

        will   be permitted to bring any additional charges that   it   may

        have against the defendant.

H.   Licensine , Resimation, and Disbarment

     29. Surrender of DEA Recistration/Status of Professional License.

        It   is further understood and agreed that the defendant    will
        surrender his DEA Registration (DEA authorization to

        prescribe Schedule II,   III, IV and V controlled   substances)

        immediately upon entry of his guilty plea. It is further

        understood and agreed that the status ofany other professional

        license held by the defendant is not protected by this Agreement

        and is a matter solely within the discretion of the appropriate

        Iicensing authority. The United States may in its discretion



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       provide to any such licensing authority any documents and

       information in its possession.

I       al Waiver

    30. A   eal Waiver   - Direct. The defendant is aware that Title 28,
       United States Code, $ 1291 affords a defendant the right to

       appeal a judgment ofconviction and sentence; and that Title 18,

       United States Code, $ 3742G) affords a defendant the right to

       appeal the sentence imposed. Acknowledging all of this, the

       defendant knowingly waives the right to appeal the conviction

       and sentence. This waiver includes any and all possible

       grounds for appeal, whether constitutional or non-

       constitutional, including, but not limited to, the manner in

       which that sentence was determined in light of United States    v.

       Booker, 543 U.S. 220 (2005). The defendant further

       acknowledges that this appeal waiver is binding only upon the

       defendant and that the United States retains its right to appeal

       in this case.


                                    C.)
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J.   Other Provisions

     131   . Asreement Not Binding on Other Agencies. Nothing in this

            Agreement shall bind any other United States Attorney's Office,

            state prosecutor's office, or federal, state or local law

            enforcement agency.

     32. No Civil Claims or Suits. The defendant agrees not to pursue or

            initiate any civil claims or suits against the United States of

            America, its agencies or employees, whether or not presently

            known to the defendant, arising out ofthe investigation,

            prosecution or cooperation, if any, covered by this Agreement,

            including but not limited to any claims for attorney's fees and

            other litigation expenses arising out ofthe investigation and

            prosecution of this matter. By the defendant's guilty plea in

           this matter the defendant further acknowledges that the

           Government's position in this litigation was taken in good faith,

           had a substantial basis in law and fact and was not vexatious.

     33. PIea Aqreement Serves E nds ofJustice. The United States is

           entering into this PIea Agreement with the defendant because
                                         D.)
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   this disposition of the matter fairly and adequately addresses

   the gravity ofthe series ofoffenses from which the charges are

   drawn, as well as the defendant's role in such offenses, thereby

   serving the ends of justice.

34. Mereer of All Prior Neeotiations. This document states the

   complete and only Plea Agreement between the United States

   Attorney for the Middle District of Pennsylvania and the

   defendant in this case,, and is binding only on the parties to this

   Agreement and supersedes all prior understandings or plea

   offers, whether written or oral. This agreement cannot be

   modified other than in writing that is signed by all parties or on

   the record in court. No other promises or inducements have

   been or   will   be made to the defendant in connection   with this

   case, nor have any predictions or threats been made       in

   connection with this plea. Pursuant to Rule 11 of the Federal

   Rules of Criminal Procedure, the defendant certifies that the

   defendant's plea is knowing and voluntary, and is not the result



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    of force or threats or promises apart from those promises set

    forth in this written Plea Agreement.

35. Defendant is Satisfied with Assistance of Counsel. The

    Defendant agrees that the defendant has discussed this case

    and this plea agreement in detail with the defendant's attorney

   who has advised the defendant of the defendant's Constitutional

    and other trial and appeal rights, the nature ofthe charges, the

   elements of the offenses the United States would have to prove

   at trial, the evidence the United States would present at such

   trial, possible defenses, the advisory Sentencing Guidelines and

   other aspects of sentencing, potential losses of civil rights and

   privileges, and other potential consequences ofpleading guilty

   in this case. The defendant agrees that the defendant is

   satisfied with the legal services and advice provided to the

   defendant by the defendant's attorney.

36. Deadline for Acceptance of Plea Aereement. The original of this

   Agreement must be signed by the defendant and defense

   counsel and received by the United States Attorney's Office on
                               Ja)
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   or before 5:00 p.m., September 7 , 2021, otherwise the offer may,

   in the sole discretion of the Government, be deemed withdrawn.

37. Required Sienatures. None of the terms of this Agreement shall

   be binding on the Office of the United States Attorney for the

   Middle District of Pennsylvania until signed by the defendant

   and defense counsel and then signed by the United States

   Attorney or his designee.




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         I have read this agreement and carefully reviewed every part of it
    with my attorney. I fully understand it and I voluntarily agree to it.


       1f r,     for                                                        (4.
    Date                                           ORAN
                                            Defendant


            I
            am the defendant's counsel. I have carefully reviewed every part
    of this agreement with the defendant. To my knowledge, mv client's
    decision to enter into this agreement is an informed and voluntary one.


           lc)
D ate                                       RO                 ESQ.
                                            Counsel for Defendant




                                            B                GLE, ESQ.
                                            Counsel for Defendant




                                            BRUCE D. BRANDLER
                                            Acting United States Attorney

7      3         r/                 By:
     ate                                    MIC HELLE OLSHEFS
                                            Assistant United States Attorney

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